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                     EXHIBIT C
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17                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
18                                        SAN JOSE DIVISION

19    CHASOM BROWN, WILLIAM BYATT,
      JEREMY DAVIS, CHRISTOPHER                           Case No.: 5:20-cv-03664-LHK-SVK
20    CASTILLO, and MONIQUE TRUJILLO
21    individually and on behalf of all other              [PROPOSED] ORDER REQUIRING
      similarly situated,                                  GOOGLE TO PRODUCE NON-PUBLIC
22                                                         SOURCE CODE
                     Plaintiffs,
23
       vs.
24

25     GOOGLE LLC,

26                   Defendant.

27

28                                                                         CASE NO. 5:20-cv-03664-LHK-SVK
                                   [PROPOSED] ORDER RE: GOOGLE’S PRODUCTION OF NON-PUBLIC SOURCE CODE
     Case 4:20-cv-03664-YGR Document 178-3 Filed 05/26/21 Page 3 of 3




1                                         [PROPOSED] ORDER
2            Before the Court is Plaintiffs’ request for an Order requiring Google to produce non-public
3     source code. (Dispute P14). Having considered Plaintiffs’ request, and good cause having been
4     shown, the Court GRANTS Plaintiffs’ request and ORDERS as follows:
5            By June 18, Google will produce non-public source code showing how:
6               1. Google internal and external facing applications, tools, and processes use browsing
7                   data to generate profiles on users and/or devices, including for Google’s Ad
8                   Personalization service and including unauthenticated identifiers.
9               2. Google’s Ad Personalization service targets advertisements to users and/or devices.
10              3. Google personalizes search results or Google news content for users and/or devices.
11           Google will produce the non-public source code at a location of Google’s choosing.
12 Google may supervise Plaintiffs’ experts’ access to this source code.

13           Google will also in advance provide Plaintiffs’ attorneys and experts with documents
14 sufficient to guide their inspection of the source code.

15           Production of non-public Google source code will be subject to the terms of the parties’
16 Stipulated Protective Order (Dkt. No. 81).

17           This relief does not foreclose Plaintiffs from seeking access to additional aspects of non-
18 public Google source code.
19

20           IT IS SO ORDERED.
21

22 DATED: ________________________                _____________________________________

23                                                 Honorable Susan van Keulen
                                                   United States Magistrate Judge
24

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28                                                                     CASE NO. 5:20-cv-03664-LHK-SVK
                               [PROPOSED] ORDER RE: GOOGLE’S PRODUCTION OF NON-PUBLIC SOURCE CODE
